
HARDY, Judge.
This suit by plaintiff, Maxwell Hardware &amp; Lumber Company, Inc., naming as de*666fendants Lee Mercer, d/b/a Capital Builders, and W. Z. and Ruthie Mae Smith, as owners of the property described, was one of six suits consolidated for purposes of trial and appeal.
For the reasons set forth in the opinion of this Court in the suit of Maxwell Hardware &amp; Lumber Company, Inc. v. Mercer et al., 201 So.2d 660, which has been this day decided, the judgment appealed from is amended to such extent that,
It is ordered, adjudged and decreed that there be judgment in favor of plaintiff, Maxwell Hardware &amp; Lumber Company, Inc., against the defendant, Lee Mercer d/b/a Capital Builders, in the full sum of One Thousand Nine Hundred Twenty-One and 16/100 ($1,921.16) Dollars, with interest thereon at the legal rate from date of judicial demand until paid, together with all costs.
In all other respects the judgment appealed from is affirmed and costs of this appeal are taxed against plaintiff-appellant.
